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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION


KYSS BURTON, et al.

v.                                                        CASE NO. 3:11CV65

HAROLD FORD


                              NOTICE OF PRETRIAL CONFERENCE

         This case has been placed on Judge Spencer’s docket, and a pretrial conference will be

held on MARCH 24, 2011 at 9:10 A.M. The conference will last approximately five (5)

minutes and will take place in the Chambers of Judge Spencer, Seventh Floor, United States

Courthouse, 701 East Broad Street, Richmond, Virginia. Attendance by an attorney for each

party is required, and the pretrial conference cannot be conducted by conference call. The Court

will set a trial date within ninety (90) days of the date of the pretrial conference except in cases

of protracted litigation.

         Counsel are advised that failure to file a report as required by Fed.R.Civ.P. 26(f) will be

considered by the Court as the parties’ decision to forego the provisions of the Rule.

         Any objections to the initial disclosure filed with the Court as provided in Fed.R.Civ.P.

26 will be resolved by the United States Magistrate Judges following the pretrial conference.

Counsel attending the pretrial conference should be prepared to present the disputed issues to the

Court.
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       It is possible that the Court may determine that this case is suitable for magistrate’s

jurisdiction. The parties shall be deemed to have consented and agreed to such jurisdiction

unless a party informs the Court of its unwillingness to proceed before the Magistrate Judge in a

pleading filed with the Clerk no later than two (2) business days before the scheduled pretrial

conference. The Court will not consider any filing which fails to comply with this requirement.

       Counsel attending the pretrial conference are to be sufficiently knowledgeable of the case

to respond to such queries as the Court may deem appropriate, be prepared to set a firm trial

date, and to discuss settlement prospects.



                                              FERNANDO GALINDO, CLERK

                                              ____________/S/____________________
                                              Kathy B. Hancock
                                              Deputy Clerk



Date: MARCH 11, 2011




IF THIS CASE IS SETTLED PRIOR TO THE PRETRIAL CONFERENCE, PLEASE CALL
ME AT 804-916-2226. THANK YOU.
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